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                                    EXHIBIT LIST

1. Contract Summary

2. Tony Interview Transcript by Plaintiff

3. Press articles, press excerpts, or press citations: The Santa Fe New Mexican, NPR,

   Newsweek, True West, Alta, The Salt Lake Tribune




                                            16
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Contract Summary
  (Exhibit RM1)
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     Tony Interview
       Transcript
     (Exhibit RM2)
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              Proof that the Tony Interview video exists,
              is available to view online, and could be
                Screenshot of Tony Interview video link
              evidenced

              ExhibitedManual
                         in thistranscript  follows
                                 nominal form    or
              by this reference to save time
                  Plainly, the authenticated transcript
                 could bePlaintiff
              If needed,    obtained from
                                   will    Inside Edition
                                        supplement
              this Exhibit by authenticated interview
              transcript from press source

              Given evident case merits Plaintiff hopes
              that will not be necessary
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      TONY INTERVIEW TRANSCRIPT
              JUNE 19, 2020
             INSIDE EDITION
          NOT AUTHENTICATED
 OWN WORK OF PLAINTIFF LISTENING TO VIDEO

   VIDEO TITLE: WHY CBS ANCHOR TONY DOKOUPIL DOESN’T
     THINK FORREST FENN’S TREASURE WAS FOUND (3:43)

TONY: [picking up mid-interview?] “…100 percent real. I don’t, however, think that it’s

been found.”

ALIGNED NARRATOR: “CBS This Morning Anchor Tony Dokoupil…”

TONY: “I gotta tell ya, I do not believe that that treasure has been found!”

ALIGNED NARRATOR: “…has a theory about a coveted mystery treasure hidden in the

Rocky Mountains for the last decade.”

FENN (FILE CLIP): “I hid that treasure chest when I was 79 or 80.”

ALIGNED NARRATOR: “The wealthy antiques dealer Forrest Fenn who challenged the

world to find his prized and buried stash recently announced, ‘The treasure was found,

the chase is over.’ Fenn says the guy who found it does not want his name mentioned and

is from back East. Fenn shared what he says are three photos of the chest, writing, ‘It is

darker than what it was ten years ago when I left it on the ground and walked away. The

finder wants me to remain silent.’ Dokoupil believes the photos aren’t proof, arguing
       Case 3:20-cv-08123-JJT Document 21-1 Filed 07/26/20 Page 11 of 19




these are undated pictures of an open chest found from an unnamed person in an

unnamed location, and the ones of Fenn are from before he buried the treasure.’”

TONY: “It’s possible that what he’s actually doing is creating an opening for himself to

complete the rather dark and bizarre plan he explained to me nearly a decade ago.”

ALIGNED NARRATOR: “In 2012, Dokoupil spent nearly a week with Fenn at his Santa

Fe, New Mexico compound, gathering interviews and research for a lengthy Newsweek

profile feature story.”

BRUNETTE WOMAN JOURNALIST: “How did he agree to let you go to visit — ”

TONY: (Interrupting) “[Fenn] was dying for the publicity! You know, at the time, he’d

written the [Memoir] two years prior and the only people who had mentioned it were

little publications, or like an airline magazine, and he had no credibility as somebody who

actually had a lot of, uh, collectable items, maybe a treasure, and who could put that into

— and who would do something as crazy as invite people to — to find it. At the time, no

one was paying attention to him, so when I called, [Fenn] was like, ‘Please! Come! I’ll

give you all the time you want.’”

ALIGNED NARRATOR: “The article put [the Memoir] and [Fenn’s] treasure hunt in the

national spotlight!”

TONY: “The Forrest Fenn treasure story would not exist as a national story if I did not

pursue it nearly a decade ago.”

YOUNGER TONY [ARCHIVE FOOTAGE]: “The location of this treasure will almost

certainly lead many searchers astray, some toward court, and others toward jail.”
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ALIGNED NARRATOR: [Introducing another journalist] “Here’s Jim Moran.”

JIM MORAN: “The treasure mania started about ten years ago when Fenn buried a chest

filled with gold and jewels somewhere in the Rockies. He put clues to the treasure’s

whereabouts in a book he wrote [Memoir].”

ALIGNED NARRATOR: “Many people have risked their lives to find the treasure.

Some have died.”

TONY: “The real reason why I don’t think the treasure, uh, has really been found is

because Forrest told me that his plan was to entomb himself along with the treasure. I

think the treasure is in a location where an older man can still get to it and crawl or insert

himself, uh, in, in and alongside the chest, and that’s how it was explained to me.”

ALIGNED NARRATOR: “Fenn, as many describe him, is like a real-life Indiana

Jones.” [Cue Raiders of the Lost Ark theme music]

TONY: “So you have a guy who’s been collecting archaeology his whole life and is so in

love with it that he’s hatched a plan to make himself part of that record for all time and

invite the public in and try to find it and his bones.”

BRUNETTE WOMAN JOURNALIST: “Have you spoken to [Fenn] since?”

TONY: “Yes! I have not spoken to him in this latest interval. I am confident it is not a

hoax. Forrest wants to be remembered for thousands of years and this is his way of doing

so.”

ALIGNED NARRATOR: [Wrapping the video, showing wrap screen] “I’m [Name

inaudible] for Inside Edition Digital.”
Case 3:20-cv-08123-JJT Document 21-1 Filed 07/26/20 Page 13 of 19




          Press
      (Exhibit RM3)
                                                                                                                                                                                                                       Welcome, Guest
                 MENU                                                         Case 3:20-cv-08123-JJT Document 21-1 Filed 07/26/20 Page 14 of 19
                                                                                                                                                                                                                        SIGN UP LOG IN




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       Forrest Fenn confirms his treasure has been found
       From the Archives: Chasing Forrest Fenn's treasure series

       By Danielle Prokop dprokop@sfnewmexican.com Jun 7, 2020                               110

                                                                                                                                                         1 of 6




                                                                                                                                                                       CLASS OF 2020




       Forrest Fenn at the start of the treasure hunt. He included a poem in his 2010 memoir that he said provided clues to a hidden                              The treasure map offering clues to the location of Forrest Fenn’s hidden treasure
       treasure chest. Fenn said Sunday a man found the treasure last week.                                                                                       Courtesy photo
       New Mexican file photo



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                                                    The search for treasure might be over, but the fight sure isn’t.
                                                                                                                                                                       Santa Fe honors its graduates in this special issue included in the
                                                                                                                                                                       June 28, 2020 edition of the Santa Fe New Mexican.
                                                    Forrest Fenn, an 89-year-old Santa Fe author and artifacts dealer,
                                                                                                                                                                       Find a copy of the Santa Fe New Mexican | Visit the
                                                    said his treasure chest hidden in the Rocky Mountains in 2010 was                                                  graduation site
           +2
                                                    found last week.
        Years of searching for
        the treasure hunter who                     “It’s true,” Fenn told The New Mexican in a phone call Sunday,
        would find the treasure
                                                    adding that the finder of his chest located the valuable goods “a few
        And then my boss decides to move me
        off the Sunday shift and another            days ago.”
        reporter gets the story.


                                                    Fenn wouldn’t say where the treasure was found or who found it.


                                                    “The guy who found it does not want his name mentioned. He’s from
                                                    back East,” he said, adding that it was confirmed from a photograph
                                                    the man sent him.


                                                    Fenn declined to produce the photograph Sunday.
                                                                                                                                                                       VIDEO NEWS HIGHLIGHTS
                                                    An estimated 350,000 people have hunted for Fenn’s treasure. Some
                                                    quit their jobs to do so. But it’s had deadly consequences. At least five
                                                    people have died while searching for the chest.


                                                    Barbara Andersen, a Chicago real estate attorney, said she is filing an
                                                    injunction in federal District Court alleging she solved the puzzle but
                                                    was hacked by someone she doesn’t know.


                                                    “He stole my solve,” she said in an interview. “He followed and
                                                                                                                                                                         Now Playing                     1:01                     1:09
                                                    cheated me to get the chest.”
                                                                                                                                                                              Amazon Pledges                 CDC Develops              Trump Admin
                                                                                                                                                                              $2 Billion                     Single Test for           Asks Supreme
                                                    Andersen, who has been licensed to practice law in Illinois since                                                  Powered by
                                                    1998, is representing herself.

                                                                                                                                                                       MOST POPULAR
                                                    In the injunction, she seeks to stop an unknown defendant from
                                                    selling booty from the treasure chest. She is also asking the court to
                                                    give the chest to her.                                                                                                   Articles


                                                    And that’s not the only court case involving Fenn’s treasure.                                                           1. India Palace vandalized in racist attack

                                                                                                                                                                            2. Lujan Grisham delays phase 2 of New Mexico
                                                                                                                                                                               reopening
                                                    In December, David Harold Hanson of Colorado Springs, Colo., sued
                                                                                                                                                                            3. Police: Suspect in custody following SWAT
                                                    Fenn for $1.5 million, claiming he has deprived him of the treasure
                                                                                                                                                                               operation on Acequia Madre
                                                    through fraudulent statements and misleading clues.
                                                                                                                                                                            4. Public Education Department releases plan for
                                                                                                                                                                               reopening schools
                                                    A judge threw out the case in February, citing mishandled procedure
                                                                                                                                                                            5. Toxic hand sanitizer kills three in New Mexico
                                                    for serving Fenn with the lawsuit. But last week Hanson petitioned
                                                                                                                                                                            6. New Mexico continues to see upward trend in
                                                    the court to reopen the case.                                                                                              virus cases

                                                                                                                                                                            7. Many Santa Fe visitors ditching masks

                                                                                                                                                                            8. Fewer New Mexicans are being hospitalized for
                                                                                                    Online Now
                                                                                                                                                                               COVID-19


                                                        Celebrate the Class                                                                                                 9. Fundraising efforts aid India Palace after attack

                                                                                                                                                                          10. Santa Fe City Council approves proposal to close

                                                             of 2020                                                                                                          downtown streets



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                                                                                                                                                                                       RINGSIDE SEAT

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                                                                                                   Submit a profile                                                                    cheap seats

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PREV                                                                                                                                                                                   Canutito eats tamales ‘con la                          NEXT
                                                                                                                                                                                       elefanta’
                                                    Hanson could not be reached Sunday for comment.

                                                                                                                                                                                       BUILDING SANTA FE
                                                    One treasure hunter taking Fenn to court was skeptical of the timing.                                                              Don't neglect green building
                                                                                                                                                                                       codes
                                                    Brian Erskine of Prescott, Ariz., said in his complaint, filed in U.S.
                                                                                                                                                                                       PHILL CASAUS
                                                    District Court, that he “solved the quest.”
                                                                                                                                                                                       Get ready for a new era at
                                                                                                                                                                                       Indian Market
                                                    Erskine said the site in question is in the San Juan Mountains of
                                                    Colorado, between the towns of Silverton and Ouray and accessible
                                                    by U.S. 550, also known as the “Million Dollar Highway.”


                                                    “He just got served with my lawsuit, and now we have this press
                                                    release,” he said in an interview Sunday.


                                                    Among other arguments for his case, Erskine says abandoning a
                                                    chest of valuables in the wild, as Fenn says he has done, means he
                                                    couldn’t “give title” as Fenn writes in his memoir, The Thrill of the
                                                    Chase.


                                                    Erskine said he’s confident his lawsuit will proceed.


                                                    And still others believe the treasure never existed — or had already
                                                    been given away.


                                                    “I think his announcement is at least a few years, and a few lives, too
                                                    late. But he has to live with that. I believe this was over much earlier
                                                    than today,” said treasure hunter Seth Wallack.


                                                    “I think 2019 is the year he said was his last to do any interviews
                                                    about the treasure, which I interpret as he lost interest because the
                                                    hunt was no longer,” Wallack added. “In 2020, he said the treasure
                                                    was found, but doesn’t reveal any details so his narrative can’t be
                                                    questioned.”


                                                    Saying he wanted others to take part in an old-fashioned adventure,
                                                    Fenn published clues online and in a 24-line poem published in his
                                                    memoir.


                                                    In 2017, he told The New Mexican the chest weighs 20 pounds and
                                                    its contents weigh another 22 pounds. He said he delivered the chest
                                                    to its hiding place over two trips, by himself.


                                                    Asked how he felt Sunday, Fenn said it’s been quite the decade.


                                                    “I don’t know, I feel halfway kind of glad, halfway kind of sad because
                                                    the chase is over,” Fenn said.



                                                    Staff writer Robert Nott contributed to this report.


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       Danielle Prokop
       General Assignment Reporter

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         Series                                   Jun 8, 2020 article

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                                                  Forrest Fenn confirms his treasure has been found
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                    NATIONAL


                    Hidden Treasure Chest Filled With Gold
                    And Gems Is Found In Rocky Mountains
                    June 8, 2020 · 11:39 AM ET


                      BILL CHAPPELL




                    Forrest Fenn, the millionaire who hid a treasure chest in the Rocky Mountains, says someone has finally found it. The riddle of
                    the prize's location is in a poem from his book, The Thrill of the Chase.
                    John Burnett/NPR




                    After sitting undisturbed for more than 10 years, a treasure chest holding gold nuggets
                    and precious gems has been found in the Rocky Mountains. The box was hidden by
                    millionaire art dealer Forrest Fenn; his only clues included a map and a poem. But
                    after countless quests, the search is over.

                    "The treasure has been found," Fenn wrote in a                                                            ARTS & LIFE

                    statement to a blog run by Dal Neitzel for discussions                                                    Seeking Adventure And
                                                                                                                              Gold? Crack This Poem And
                    among Fenn treasure seekers.                                                                              Head Outdoors



                    "It was under a canopy of stars in the lush, forested
                                                                                                                              NATIONAL
                    vegetation of the Rocky Mountains and had not moved                                                       Rocky Mountains Treasure
                                                                                                                              Hunt Turns Fatal
                    from the spot where I hid it more than 10 years ago,"
                    Fenn said. "I do not know the person who found it, but
                    the poem in my book led him to the precise spot."                                                         THE TWO-WAY
                                                                                                                              Search For Buried Treasure
                    The successful seeker has not come forward.                                                               Linked To Illinois Man's
                                                                                                                              Death At Yellowstone


                    "The guy who found it does not want his name
                    mentioned. He's from back East," Fenn told The New Mexican in Santa Fe. The find
                    was confirmed by a photograph, he added.

                    The search for Fenn's hidden treasure became a
                    sensation, luring tens of thousands of people to try to
                    decipher the clues and embark on what they hoped
                    would be a life-altering hike in the wilderness. But for
                    years after the first clues appeared in Fenn's self-
                    published book, The Thrill of the Chase, no one could
                    find the right spot.

                    For some, it became a dangerous obsession: In the
                    process of looking for the trove that was said to be
                    worth as much as $2 million, at least four people have
                    died.
                                                                                                          Forrest Fenn's treasure was tucked away in an ornate,
                                                                                                          heavy Romanesque box that was filled with gold
                    "The ornate, Romanesque box is 10-by-10 inches and
                                                                                                          nuggets, gold coins and precious gems.
                    weighs about 40 pounds when loaded," as NPR's John                                    Courtesy of Forrest Fenn

                    Burnett reported in 2016. "Fenn has only revealed that
                    it is hidden in the Rocky Mountains, somewhere
                    between Santa Fe and the Canadian border at an elevation above 5,000 feet. It's not in
                    a mine, a graveyard or near a structure."

                    After reports that searchers had died while looking for
                    his treasure, Fenn tried to dissuade people from taking
                    perilous risks, saying in a statement emailed to NPR,
                    "The treasure is not hidden in a dangerous place. I hid it
                    when I was about 80 years old."

                    Three years ago, the treasure hider said he believes at
                    least 250,000 people have looked for the stash. But
                    noting the accidents that have occurred, he added, "The
                    search is supposed to be fun."

                    Fenn, who will turn 90 in August, had pledged never to
                    reveal where he hid the prize, telling Burnett in 2016, "If
                    I die tomorrow, the knowledge of that location goes in
                    the coffin with me."                                                                  The treasure map and poem from Fenn's book.
                                                                                                          Benchmark Maps/Courtesy of Forrest Fenn




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U.S.                                                                                                                                            THE DEBATE

Forrest Fenn Wants You to Find His Treasure—and                                                                                                               Empty Cradles Means a Bleaker

His Bones.                                                                                                                                                    Future
                                                                                                                                                              BY LYMAN STONE AND W. BRADFORD
BY TONY DOKOUPIL ON 8/20/12 AT 1:00 AM EDT                                                                                                                    WILCOX

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  Forrest Fenn has hidden a million dollars of his treasure—and he wants you to ﬁnd it.                                                                       GOP Monopolies Are
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SHARE                                                                                                                                                         The Myth of 'Captured Courts'
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                                                                                                                                                              BY TERRY CAMPO



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"I'                       m sure not going to die in a hospital bed," Forrest Fenn likes to say, and
                          at 82 years old his is not an idle promise. He has spent his life as a
treasure hunter, a real-life Indiana Jones who has bought, sold, traded, and dug his way
                                                                                                                                                     Email address




to a peerless collection of artifacts. Now he is determined to avoid becoming "the
leftovers of history" himself. And he recently set in motion a plan he thinks will make
headlines—a thousand years from now.

Behind the adobe walls of his Santa Fe compound, inside the red, pantry-size steel vault
that protects some of his most valuable pieces, Fenn says he opened an antique
lockbox and began to fill it with more than a million dollars' worth of treasure. He tossed
in ancient figurines, a 17th-century Spanish ring, and turquoise beads excavated from a
cliﬀ dwelling near Mesa Verde. He added American eagle gold coins, gold nuggets, a
vial of gold dust, two gold discs, and "a lot of jewelry," including rubies, sapphires, and
diamonds. Among these wonders he included a copy of his own autobiography, rolled
and stuﬀed into an ancient olive jar. Then he went "into the mountains north of Santa
Fe," Fenn says, and hid the lockbox, to be found by anyone who can decipher the clues
embedded in a 24-line poem that ends: "So hear me all and listen good,/Your eﬀort will
be worth the cold./If you are brave and in the wood/I give you title to the gold."

But Fenn isn't done. When the time comes he hopes to shove one more element in with
the bounty: his own dead body. "When people find the treasure, they'll find my bones,"
he explains, with the sound of his native Texas in every syllable. "But my bio will be
inside so at least they'll know who I was." A man who most certainly is not going to die
in a hospital bed.

                                                                                                                        ADVERTISEMENT




As bizarre as it sounds, Fenn's plans for his death mirror the way he has lived. For nearly
two decades, he ran one of the world's finest art galleries, catering to people atop the
totem pole in Washington and Hollywood, from President Gerald Ford and John Wayne
to Jackie Kennedy and Cher. They came for major works by Remington or Russell or
O'Keeﬀe. Or for Native American antiquities that surpassed the Smithsonian's. Or for
the mirage like experience of it all, the private planes and chauﬀeured limos, the guest
houses with gold fixtures, catered meals, and in-house masseuse service. Or just to see
Fenn hand-feed his favorite pet, a Louisiana alligator named Beowulf.

Fenn became a celebrity in his own right, feted by Forbes and People magazines. His
story even inspired a mass-market thriller, The Codex, about "a notorious treasure
hunter and tomb robber" who accumulated "priceless art, gems, and artifacts before
vanishing," and was twice optioned for film. But Fenn never lost his rogue's way with
rules and regulations. The signs in his gallery encouraged people to touch everything, to
put their hands on the past—just as Fenn has done since he found his first arrowhead
and began his great American climb.

The same ethos is on display in his home, which operates like a museum, but with no
guards, better inventory, and a price list. On a recent tour, I rapped the shell of a
mummified falcon from King Tut's tomb (not for sale), slipped a finger through a jade
mask older than Jesus ($12,500), and beheld Sitting Bull's peace pipe, spiritual
centerpiece of Custer's Last Stand (appraised at $1.1 million). After an undercover agent
took a similar tour in 2009, the federal government raided Fenn's house as part of the
biggest ever suspected case of grave-robbing—code named Cerberus Action, after the
mythical three-headed dog that guards the underworld. The case is ongoing, according
to the FBI, which declined to discuss it.

                                                                                                                        ADVERTISEMENT




Fenn's relationship to the law can be hard to pinpoint. He denies all wrongdoing in one
breath, only to brag of his exploits in the next, swaggering toward self-incrimination in
the process. He says he can't discuss the FBI case, for example, because his lawyer
told him, "if you talk about it, you could lose it." (Fenn later told me he misspoke.) He
hasn't exactly gone into hiding either. In 2010 he self-published The Thrill of the Chase—
a slim, episodic memoir that announced the hidden treasure and, as he later put it,
invited people to have "as much fun finding it as I have had all these years collecting it."

Fenn says that everything you need to find his treasure is in his poem. And two years
later, the community in search of Fenn's treasure is large and frighteningly devoted. "You
have attained mythical and hallucinogenic proportions in my mind," read one recent
note from a digger, which Fenn flagged as "typical of a few thousand emails I have
received." Fenn has had to talk people out of digging his neighbor's property, as well as
his parents' and brother's graves and his own backyard. "I've created a monster," he
says.

          Read more

                                                                                                                                      22K




                           Yes

                           Already have

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                           I'm not sure

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But interpreting the poem—described by one hunter as "the vaguest damned thing ever
written"—will require seeing the West through Fenn's eyes, which is what I traveled to
Santa Fe to do, along with a little treasure hunting of my own. I spent the better part of a
week with the white-haired retiree, as he sipped buttermilk and tried to avoid dropping
hints about his future burial site. For the first time since the raid, he spoke at length
about the origins of his epic collection and bizarre plan to shove himself into the
historical record. We even went digging together.

All buried treasure glitters more than its backstory, but as Fenn's treasure passes into
the pantheon of findable millions, hunters beware: the untold history of this cache—and
the man behind it—may be stranger and more cursed than most.

At the height of his gallery days in Santa Fe, Fenn's staﬀ numbered 16 and sales topped
$6 million a year. Every floorboard told a story: Steven Spielberg begging for carved
antique ceiling beams; Steve Martin showing up with his girlfriend's homemade banana
bread; the Chinese minister of culture breaking the knob on a toggle-style light switch.
Santa Fe society was flush with tales about the invader Texan with expensive tastes.
And yet, despite the attention, Fenn remained essentially mysterious. He had arrived in
1972 as nobody, a middle-aged Air Force veteran with a modest retirement, a high-
school degree, and not a lick of experience in the art world. Shortly thereafter, he was a
millionaire. The question was how?




  Native American artifacts displayed in Fenn’s home oﬃce. Many of them are for sale (right) Fenn methodically organizes his
  ﬁnds, including bones he believes are all from animals.
  BRENT HUMPHREYS FOR NEWSWEEK



In part, his timing was good. He arrived just as people moved to the Sunbelt and
adopted a cowboy-and-Indian decorating motif. And he was clearly bright. One of his
final military eﬃciency reports reads like a movie poster decorated with critical raves:
"high caliber," "truly amazing," "can do anything." But people kept looking for
something more, "some secret which would more adequately explain his far-reaching
success," as a friend wrote in a 1981 book about the Western art world. Another friend
took to calling Fenn the Wizard of Oz, "a former flim-flam man" who inspired a following.
State and federal oﬃcials were curious, too. They wanted to know how, exactly, Fenn
had acquired so much powerful inventory, and so quickly. "His name has come up as a
person of interest for decades," says Phil Young, a retired National Parks Service
investigator.

                                                                                                                        ADVERTISEMENT




To some degree, Fenn invited this kind of attention. He was a self-described "hustler,"
spending the first hour of every day, "well, scheming isn't a good word, but just
planning," he told me. "I wanted to play Monopoly. I wanted to turn one into two and
four into nine." And he did precisely that, buying his paintings low, mouthing oﬀ about
them for a few years, and selling high. As for how he got himself into the game to begin
with, it's not so complicated, really. He dug his way in.

Fenn has always been unusually good at giving himself advantages. As a boy he
whittled yo-yos and ground shooting marbles to sell, earning enough money to eat like
the kids in the brick houses. To the great shame of his old man, a lifelong teacher and
principal, Fenn was also an often delinquent student. "I was his disappointment," he
writes in an unpublished family history. But the land in Central Texas is an open-air
museum, and Forrest and his father came together there, picking up whatever washed
to the surface: arrowheads, beads, pieces of pottery. "Grab every banana," his father
used to say while they were out on hunts together, baﬄing his son.

One day he elaborated: "He said, son, the train doesn't go by that banana tree but one
time, so you reach as far out as you can, because every banana you don't grab is a
banana you'll never have. And then we walked on in the mud and we picked up some
arrowheads." Fenn still has his first one, found when he was about 9 years old, starting
him on the thrill of the chase.

                                                                                                                        ADVERTISEMENT




The chase accelerated when Fenn joined the Air Force in 1950, and was transferred to
Bitburg, Germany, later that decade. As a fighter pilot, he was allowed to take out jets
for fun, and for Fenn that meant going where there was history. "I was thrown out of
Pompeii three times," he boasts about his visits to the Roman city buried in ash and
mud in 79 A.D. "But I found amphora full of olive oil and full of wine." Another weekend
he flew to Libya and swam oﬀ the coast of Sabratha, a Phoenician port founded in
approximately 500 B.C. He spotted something in the water beneath him and yanked it
up using a rope and a Jeep. It was another amphora, and when he cracked it open he
found bronze coins welded together by salt water. But Fenn's favorite place to explore
was the Sahara, where "you could find 8,000-year-old spear points, made when the
desert was wheat fields, next to a German skeleton or hand grenade or a burned-out
tank."

It wasn't until 1960 that Fenn's collecting flowered into a kind of obsession.
"Relentless." "Insatiable." "Excessive." "Rabid." Those are Fenn's own words. He
landed a job teaching at Luke Air Force Base in Arizona, America's "archeological
mecca," the setting for centuries of human occupation and at least 500,000 graves.
Today most of those graves are believed to have been plundered, but in Fenn's day
much of the area was still pristine.

"In my mind," he says, "I've always been the best in the world at collecting cool things."
From the sky, he learned to spot ruins by the pattern of cacti. Other times he would slice
through canyons looking for hidden cliﬀ dwellings and caves. The most promising sites
he would investigate by Jeep. He ran into partners: a tall, lantern-jawed cowboy named
Bill Robinson, who lived out near what became Route 66, and John Whitaker, a second-
generation highway worker who learned to hunt artifacts he unearthed while laying
pavement.

                                                                                                                        ADVERTISEMENT




Fenn is shy about detailing their exploits, but two of Whitaker's daughters remember
Fenn well, and so does -another relative, then a teen, who sometimes went along for
digs. Fenn was dashing to the two adolescent girls, Marilyn and Barbara. They recall
him flying low in his F-100, buzzing the top of their father's Chevy pickup, and
unleashing a sonic boom that shook the desert. Later he'd appear in their kitchen,
beckoning their father to go for a ride.

The legality of these digs is murky, a matter of interpreting outdated laws, decades-old
court decisions, and specific questions of geography. Since 1906, however, it has been
illegal to take anything from public land without permission, let alone disturb historic
gravesites, which were often the site of the most valuable riches. "You can't dig out
there without digging up some graves," admits the group's teenage tag-along. Fenn
himself, in conversations recorded by law enforcement, recounts digging in Arizona and
removing a stone axe from the remains of an Indian who was crushed by a boulder.

Fenn and his two partners got themselves into all kinds of slapstick trouble as well.
Scampering out of an exploratory hole after a rattlesnake or a centipede squirmed
through the wall. Or getting yanked ankles-first out of a collapsed cave, spitting sand
and hollering. One day the men were in a cave, "digging to their hearts' content,"
Barbara Whitaker recalls her father telling her, when they heard the whomp-whomp of a
rotary blade growing louder and louder. "We're screwed," was the general feeling inside
the chamber, no use fighting it. They walked out into the sunlight, expecting to be
arrested by a green-suited ranger, she says. Instead they found a U.S. senator, Barry
Goldwater. He wasn't there to bust them. He just wanted to dig, too. Fenn would not
corroborate this story, but he did say this: when Goldwater wanted to take a group of
Washington types out for a dig, he called Fenn, who recalls taking the expedition out in
an Air Force helicopter. No one seemed concerned with the laws. "These were U.S.
senators," Fenn says. "They make the laws."

                                                                                                                        ADVERTISEMENT




The gang broke up by the mid-1960s, when Fenn was transferred to a base in Texas.
But it was breaking up anyway, Whitaker's children understood from their father,
because Fenn wasn't just taking a treasure or two but returning to caves and stripping
them clean. This was too much for John Whitaker, who had taken a job as a water
manager on the Navajo reservation. Of the three, only Fenn "turned it into a profession,"
says Barbara. "He saw something that he could cash in on, and he made his family
fortune on it."

Fenn rejects the claim that he grabbed every banana, but he admits that he then he
started trading them. "I'll trade a bracelet for six rings then give three of the rings for a
bracelet and a necklace," he told Forbes in 1978. He also says he took in money by
casting bronze statues, using a crucible he "scrounged" from the Air Force, and the
metal from "a midnight requisition" of four sprinkler heads from a Texas Tech practice
football field. By 1972 he had enough cash and inventory to move to Santa Fe,
partnering with a local Indian-artifacts trader. Within a year, the trader wanted to back
out, fearing damage to his reputation with the Indians. But Fenn had his footing by then.
He found an angel investor and began to build Fenn Galleries, buying, selling, and
trading his way up the totem pole for the next 17 years.

The idea for the treasure dates to 1987, when Fenn's father was diagnosed with
pancreatic cancer. The man took 50 sleeping pills and died at home in Texas, a few
hours before Forrest could land in his single-engine Rockwell Commander. The following
year, Fenn was diagnosed with kidney cancer and given a slim chance of living. He
started thinking about what he would leave behind. "What can one person do that might
impact life a thousand years from now?" he asked himself. One idea was to bury bronze
bells, stuﬀed with his life story. He has buried eight of them so far.

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His other idea was the treasure chest. There has been a 20-odd-year delay for the
simple reason that Fenn beat cancer. But he has used his second lease on life very
much like he used his first. He sold his gallery, built a mansion on the Old Santa Fe Trail,
and bought himself his very own Indian ruin. (America is the only wealthy country that
gives land owners title to archeology, putting artifacts in the same category as oil or
gold.)

Fenn's ruin is San Lazaro Pueblo, the largest and most significant in the area, and, since
1964, a National Historic Landmark. People lived there from about 1200 to the late
1800s, and it contains artifacts the Indians hastily jettisoned around the time of the
area's first contact with a European army. "He hit the mother lode," the state
archeologist at the time said when Fenn bought the ruin. But Fenn uses it for fun. "It's a
retreat for me, a place to get away," he says. "I'll go out and sit on the medicine rock,
drink a Coca-Cola or something, and I can look out and see Coronado coming up Del
Char Creek with 13 legionaries in armor and helmets."

And he digs. He has thousands of -pieces—a shattered Spanish mission bell, a
mysterious phallic-shaped religious item, a charred arrow, one of the oldest dance
masks ever found. All of it neatly and obsessively stored in Tupperware containers,
Altoid tins, and velvet-lined jewelry boxes. He compares digging to breathing, and
collecting to slaking a burning thirst. New Mexico's current state archeologist, Eric
Blinman, has been invited to San Lazaro and seen Fenn in full dig. "It's like a drug high,"
Blinman tells Newsweek.

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Even here it's hard to tell whether Fenn's digging has crossed any legal lines. Twenty-
two years ago, New Mexico accused him of disturbing graves on his pueblo, alleging
"obvious human remains" that were "piled and scattered." Fenn got the complaint
thrown out when he learned that the state had trespassed to collect its evidence. But to
this day he doesn't deny finding possible graves. "The key word [in the law] is
'discover'," Fenn says. "We've found bones that might have been human, but we didn't
'discover' that they were, so we covered them up and moved someplace else."

Descendants of the San Lazaro pueblo pray for him, and the head of the National
Congress of the American Indian told me he believes that collectors like Fenn are
cursed. But only a distant barbed-wire fence and signs that say "Federal Property"
seem to curb Fenn's pursuit of the past. "What's the diﬀerence between here and
there?" I asked, after Fenn and I had spent the day picking up bone pieces, beads,
pottery, and prehistoric shell-and-turquoise pendants. He knew exactly: "18 months in
jail and a $10,000 fine."

One morning I didn't see Fenn for breakfast because I had a rendezvous with one of the
groups searching for his treasure. There are thousands of them out there, to judge by
treasure forums, the contents of Fenn's email box, and sales of his memoir. He donated
the entire printing to a bookstore in downtown Santa Fe, which in turn will donate a
portion of its sales to a cancer fund.

                                                                                                                        ADVERTISEMENT




Fenn says he wrote the book "for every redneck out there with a pickup truck, six kids,
just lost his job, his wife, and lacks adventure." But the people who have found the trail
are a more diverse bunch than that. On his Thrill of the Chase blog, Dal Neitzel, a
cinematographer who has done work for CNN, reports run-ins with a mysterious girl in a
mid-century red pickup truck and green mud boots, and two young guys from Los
Angeles in a black Hummer. He's also run guest posts from a Midwestern mother of two
who has made seven search trips so far.

Fenn himself has heard from a lovable cross-section of bumblers. One college kid
trekked to a river location, remembering rope, gloves, wetsuit, booties, mask and fins—
everything but an air tank. Another hopeful traveled to a lake in winter, stepped out of a
subcompact rental car and plunged into "a dark blackened landslide of ice and snow."
One of my favorite notes from a searcher is also the simplest. "Stumped," it reads.
"Defeated."

My team was in a similar mood when I first contacted them. The four had driven down
from the Iowa flatlands, three high-school buddies plus a childhood friend. Mark Dreyer,
a real-estate broker had recruited his cousin Chad Claude, who runs logistics for a
global frozen-food company, who in turn recruited Gary Merrill, a paramedic, and Scott
Rath, who handles scheduling for a livestock operation. They considered Vegas
together. They hoped this would be even better.

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For six months they prepared, meeting for treasure sessions at Pizza Ranch. Then they
packed up Claude's GMC -Yukon, taking beef jerky, bullets, men's magazines, a first-
aid kit, and everything four 40-year-old men could need for five days in the woods. Their
interpretation of the poem led to a 13-mile stretch in and around New Mexico's
Cimarron Canyon and Eagle Nest Lake state parks and the Carson National Forest—
where they found only a rolled ankle, a run-in with a "bear" that turned out to be a kid
fishing, and a bitter moment when a motorcade of fancy cars drove by: they imagined
Fenn inside one of them, laughing like a cartoon villain.

When Merrill got my email asking to meet, the guys were drinking in a hotel bar. I
convinced them to stay one more day, promising to share my own interpretation of the
poem. By now I was caught up in the hunt, sure my original reporting would help, and
happy to split treasure for the sheer story alone. But they wanted to return to Cimarron.
We walked around in the woods, holding crumpled copies of Fenn's poem and
regarding the underbrush until a ranger told us we needed a permit to hike.

At lunch I asked the guys what they thought about the more controversial chapters in
Fenn's history. They shrugged. "What's the diﬀerence between the scene of a car
accident and a ruin?" Merrill said. "Or a Spanish galleon?" Rath added. "It's not like he's
a cocaine dealer," said Dreyer. They left that night, sending Fenn a thank-you email, and
pledging another trip. "I like our chances," said Claude.

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On my last day, a few hours before I got on a plane, I met Fenn at his house to say
goodbye. I brought a bag of artifacts with me, the stuﬀ I had picked up on his private
ruin. I felt guilty about keeping them in general, and nervous about flying with them
specifically. "I don't believe you," Fenn snapped. "You didn't feel guilty when you pulled
them up." I told him about the idea of a curse, about how every day Indian tribes and
federal agencies get packages in mail, filled with Indian relics and pleading, apologetic
notes from desperate people. Fenn shook his head. "I look cursed to you?" I left the
artifacts anyway. Recently, he emailed to say they had been backfilled back into the dirt
at San Lazaro, but they weren't happy there. "They're in the dark," he said, just like his
treasure chest. But only for now.

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                                                                                            EDITOR'S PICK




  WORLD                                                   U.S.                                         WORLD                                              NEWS

U.S. and Russia Battle on                            Miami Beaches Close for July 4                 Head of Church of England:                         These States Have the Lowest
Twitter Over China's Role in                         as COVID-19 Dampens                            White Jesus Should be                              Coronavirus Cases
Nuclear Weapons Deal                                 Independence Day Plans                         Reconsidered Amid Protests                         Montana, Alaska and Hawaii have all
The U.S. special presidential envoy for              The mayor of Miami is due to sign an           "Yes of course" depictions of Jesus as             reported around 800 to 850 infections
arms control called on China to join                 emergency order on Saturday closing            a white man should be reconsidered,                to date.
arms control talks in Vienna, but                    all beaches in Miami-Dade County               Archbishop Justin Welby said Friday.
Russia's U.N. ambassador accused                     from July 3 to 7, spanning the holiday
him of spreading "false claims."                     weekend.



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    Modern-Day Treasure Hunt                                                                                                                                             S UB S C R I B E TODAY

    November 2013 | Johnny D. Boggs | ! "




                                                                                                                                                                           November 2013


                                                                                                                                                                  IN THIS ISSUE:

        The way Forrest Fenn puts it, the treasure chest includes: 265 gold coins; nuggets; a Spanish 17th-century gold                                           MORE IN THIS ISSUE
        ring with a large emerald; necklaces; and a Navajo bracelet that Richard Wetherill, the controversial cowboy,
                                                                                                                                                                     The Other Las Vegas
        explorer and trader credited with discovering Mesa Verde’s Cliff Palace, sold to hotel legend Fred Harvey in 1901.
                                                                                                                                                                     John Goodwin

        “I won it playing pool with Byron Harvey,” Fenn says.                                                                                                        November 2013 Events
                                                                                                                                                                     In Have Gun, Will Travel, what was
                                                                                                                                                                     Paladin’s erst name?
        Inside his memoir, you will end a 24-line poem that includes nine clues, which, Fenn writes, “if followed precisely,
        will lead to the end of my rainbow and the treasure….” Other clues can be found in the memoir’s text, he says.                                               In your June 2013 guneghter graves
                                                                                                                                                                     article, the marker for Liver-Eating
                                                                                                                                                                     Johnson reads “Johnston.” Which is
        Thus began the latest chapter of It’s a Mad, Mad, Mad, Mad World.                                                                                            correct?
                                                                                                                                                                     While watching Encore Westerns, I
                                                                                                                                                                     saw Bob Boze Bell’s True West
        Fenn, 82, has received roughly 6,000 e-mails from treasure hunters and wannabe treasure hunters. He has                                                      Moments on Deputy U.S. Marshal
        attracted media attention from across the world. He has ticked off at least one neighbor and plenty of treasure                                              Bass Reeves. Who was this lawman?
        hunters who have complained that the treasure is too hard to end.                                                                                            How far could a good horse go during
                                                                                                                                                                     a posse chase of outlaws?

        “I never said it was easy,” Fenn says.                                                                                                                       How far did a wagon train travel in a
                                                                                                                                                                     typical day?
                                                                                                                                                                     How did Plains Indians carry water
        Fenn’s neighbor called him recently. “It was not a social call,” says the Santa Fe, New Mexico, collector, author                                            while on the move?
        and entrepreneur whom Newsweek calls a “real-life Indiana Jones.” Seems some guys were digging up her front
                                                                                                                                                                     Rough Drafts 11/13
        yard looking for Fenn’s treasure. “Tell them,” Fenn told his neighbor, “that the treasure is not in your front yard.”
                                                                                                                                                                     An Ace in the Hole
                                                                                                                                                                     Death by Shakespeare
        And people have complained that Fenn never gives any clues to where it might be? Well, you can now strike out
        his neighbor’s front yard.                                                                                                                                   Remington Hits High Note
                                                                                                                                                                     Paydirt-It’s Still Out There!
        Besides, Fenn has said that the treasure is in the mountains somewhere north of Santa Fe. He has also said it’s                                              Modern-Day Treasure Hunt
        more than 300 miles west of Toledo, Ohio. And, pssst, when I interviewed him at his home in December, he gave                                                Sadie vs. Josie
        me another clue. “It’s not in Nevada.”
                                                                                                                                                                     Wild Women of the West
                                                                                                                                                                     Soiled Doves
        In 2010, Fenn published a memoir, The Thrill of the Chase, available exclusively through Collected Works
                                                                                                                                                                     The Vanity Plates of Footwear
        Bookstore in Santa Fe, New Mexico. In the memoir, he wrote that he had elled a cast-bronze chest (probably a
        Romanesque lockbox from around 1150 A.D.) with treasure. “Everything’s a treasure to me,” says Fenn, who                                                     A Dinner to Remember

        collects goods that range from rare books to Western and Indian artifacts to “weird-looking rocks.”                                                          On the Trail of Ancient Artists
                                                                                                                                                                     Delivering Justice
        “I keep things I love,” says Fenn, but he decided to part with some things, to provide adventure seekers with the                                            Digging for Treasure
        thrill of a chase.                                                                                                                                           3:10 TO YUMA-Delmer Daves

        Nor has he put a price tag on the treasure, but various reports have estimated its value at $1 million, $2 million or
        $3 million.


        “When it gets to $10 million,” Fenn says, “I’m going to go back and get it.”


        The odds of ending that treasure might be slim, but Fenn knows all about defying odds.


        He grew up in Texas, but spent many summers with his school-principal father in Yellowstone National Park until
        he considered himself “a 19-year-old lank without discipline, focus or cause.” He joined the Air Force when the
        Korean War broke out, became a pilot and found himself in Germany mying in a F-100C “with an atomic bomb
        under my wing.” By the time Vietnam came along, he was a major and a eghter pilot. While he was in Vietnam, he
        was shot down twice. After leaving the Air Force, he moved his family to Santa Fe and started an art gallery.


        At age 58, Fenn was diagnosed with cancer. A one-hour surgery turned into eve hours, and afterward he was
        given a 20 percent chance of living three years. “That’s a pretty eye-opening diagnosis,” he says.


        He survived that scare, too. Some 20 years later, Fenn decided to hide a box elled with assorted treasures, to give
        other people the thrill of the chase.


        “My family’s taken care of; I’ve had so much fun collecting this junk, and I always loved the outdoors,” he says. “I
        wanted to get some people off the couch and out in the woods. The greatest thrill to me is to be walking in the
        woods and come across something absolutely wonderful—like two porcupines playing with each other in
        Yellowstone.”


        So who’s looking for his treasure?


        “My audience is every redneck with a pickup truck,” Fenn says. “Maybe he’s lost his job, has six kids to feed, has a
        sleeping bag and likes adventure.”


        Actually, some treasure hunters are a far cry from that description, with one exception: They love adventure.


        Take Dal Neitzel, a former TV documentary maker who lives on an island in the Salish Sea off the coast of
        northwestern Washington. Neitzel is no stranger to treasure hunting, having searched for a gold-elled Spanish
        galleon off the coast of Uruguay, for WWII-era B-17s in the North Atlantic, for the Japanese submarine I-52 in the
        Atlantic and for the S.S. Islander, which sank on its way from Skagway, Alaska, in 1901 with a rumored cargo of
        several thousand pounds of gold.


        Neitzel has been out seven times looking for Fenn’s treasure for as long as three weeks at a time, searching in
        New Mexico, Colorado, Utah, Wyoming, Idaho and Montana. He even blogs about the hunt (DalNeitzel.com),
        which leads to a question: Which is harder, searching for the treasure or blogging about it?


        “You know that blog is a lot of fun,” Neitzel says. “I enjoy sharing my adventures, and I really enjoy having others
        share their stories and tales and ideas. But nothing is as exciting as the erst day of every search. When I am
        absolutely sure that I have egured it out, that I will soon be holding a beautiful 42-pound bronze chest heavy with
        artifacts representing a lifetime of collecting by the legendary Forrest Fenn—Man, that’s an adrenaline rush. If I
        actually end it someday, I am certain I will just sit there stupeeed…or have a heart attack.”


        Then there’s Marc Howard, a Santa Fe goldsmith and history buff. Howard has been out 20 times chasing after
        Fenn’s treasure chest, mostly in New Mexico, but he also made his erst-ever trip to Yellowstone National Park—
        three days and 2,000 miles—and he’s thinking about Colorado.


        “Every time I think I don’t have any more ideas, something else pops up,” he says. “Besides, my wife and I have a
        saying: ‘Any harebrained thing to be able to retire.’”


        Howard hasn’t found the treasure, of course, but he has found other treasures.


        “I’ve sat in a hot spring in the middle of the mountains with a herd of bighorn sheep 150 feet away,” he says. “I’ve
        seen a bald eagle over my head during the erst snowfall. I’ve brought something back from every place I’ve
        looked.”


        Here’s another clue from Fenn himself: “Don’t look for the treasure where a 79-year-old man’s not going to carry a
        42-pound box.”


        Which is something Howard always considers before he reconsiders: “Forrest survived being shot down twice in
        Vietnam. I think he’s an American hero. And doesn’t say random things. Anything he says, anything he writes, is a
        clue.”


        “Forrest is unique,” Neitzel says. “He is a fellow who really and truly thinks differently than our average human
        being. We are so lucky that his incredibly fertile mind was not wasted on a career in something like science,
        medicine or teaching. Instead, he decided to create, collect, write and share.”


        Where is that treasure?


        “I can tell you, with complete accuracy, 48 places it is not,” Neitzel says.“I egure, at my current rate, I will have
        covered every square inch of the potential hiding place by the year 2614.”


        Howard is eguring out what he’ll do once he ends it.


        “I’ll call my wife erst,” Howard says. “Call Forrest second. What I really want, though, is that Wetherill bracelet. So
        I might just show up at Forrest’s house wearing that bracelet.”


        The thrill of the chase continues.


        “I never said I buried it,” Fenn says, “but that doesn’t mean it isn’t buried. I want a mystery about it. It’s not easy to
        end, but it isn’t impossible.”




        The Hunt is On: We’re the 0rst to publish his map, and he gave us a new clue…


        Hint: The treasure is not in a bordering country.


        Forrest Fenn’s book and hidden treasure, estimated at “more than $1 million” in gold coins and artifacts, has
        caused a frenzy in the West among adventurous types and armchair puzzle fans.


        The poem contains nine clues; his memoir, The Thrill of the Chase, contains other clues; his appearances on The
        Today Show as well as interviews with Newsweek, The Robb Report, The Hupngton Post and True West might
        add up to a solution, but so far we’re stumped.


        One modern-day prospector has spent two years investigating the whereabouts—digging deep like a journalist—
        looking at county property records, making scores of phone calls, hiking hundreds of miles, dissecting each
        syllable of the cryptic poem…all to no avail.


        Bloggers share their assumptions and suppositions, either helping each other or throwing competitors off-track.
        For instance, Fenn’s poem contains a line about the “home of Brown.” Some of the possibilities bandied about
        online for this clue include:


        • a speciec spot in a river where brown trout swim


        • the ranch of one annoyed Mr. Brown


        • a historic snowshoe cabin named for Canada’s Davy Crockett, Kootenai Brown, who hung around Glacier
        National Park, was acquitted of a murder in Montana and later became superintendent of a national park in
        CanadaOther speculators say that the line in the poem about “where warm waters halt” has to do with:


        • a tear


        • hot springs feeding into a cold snowmelt creek


        • a dam


        • a waterfall


        And a line that drives bloggers and seekers near-crazy is: “The end is ever drawing nigh.” What the… ? Could that
        mean you’re in danger at this point? Or is he implying that you’re getting warmer, close to the treasure? Could it
        be the end of the water? Or the end of…what? A rope, a state, a creek?


        What we really want to know is: Is the treasure buried or hidden? He made a point of saying that he never said it
        was buried. The next interview he said that he never said it wasn’t buried.




        Recent Clues: Clues oBcially released by Forrest Fenn:


        • The treasure is hidden higher than 5,000 feet above sea level.


        • No need to dig up the old outhouses; the treasure is not associated with any structure.


        • The treasure is not in a graveyard.


        • The treasure is not hidden in Idaho or Utah.


        • The treasure is not in Nevada.


        • The treasure is hidden over 300 miles west of Toledo, Ohio.


        • Take a sandwich.


        • Take a mashlight.


        • If you had its coordinates, you would be able to end the treasure.




        A True West Exclusive Clue:


        The treasure is not in Canada, although the Rockies extend into Canada.


        See the map Fenn has provided True West, on p. 73, allowing us to be the erst to publish it. (The map shows
        Rocky Mountain states, which doesn’t exactly pinpoint the spot.)


        Check out Fenn’s “Thrill Resource Page” on OldSantaFeTradingCo.com. And please let us know when you end the
        treasure. We’ll share with you our guess about where to end it, but it’ll cost you…$1 million.




        Johnny D. Boggs got his share of Forrest Fenn’s treasure when Fenn let him hold Sitting Bull’s pipe.




        For more great stories about unfound treasure click on the link: Paydirt-It’s Still Out There!


        Photo Gallery




                                                   This is the Actual Treasure
           A cool $1 million-plus is the estimated value of Forrest Fenn’s treasure box and contents. This is not your
         garden-variety storage unit crammed with stuff, as seen on TV. Millionaire eccentric collector Fenn is hoping to
          get people off their couches and out into the wilderness with his cache of gold and various rare collectibles.




                Art collector, author and former art gallery owner Forrest Fenn has created a treasure worth hunting.
                                                       – By Johnny D. Boggs –




                                        Forrest Fenn’s Never-Before-Published Treasure Map


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    MYSTERY

    The Quest to Find the $2 Million Treasure in the Rocky
!   Mountains
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                                                                                                                                                                             ALTA ASKS
                                                                                                                                                ERIC SWANSON                 Talking with David L.
    Forrest Fenn outside his home in Santa Fe, New Mexico. He was considering suicide when he wrote a poem and buried his treasure. “I was going to                          Ulin
    die and started making plans.”
                                                                                                                                                                             WHAT NEXT
    Forrest Fenn buried a treasure chest containing more than $2 million in rare coins and gems. It’s                                                                        Bring Your Own Cup
    hidden somewhere in the Rocky Mountains, and the key to finding it is nine clues concealed in a
    poem.
    By GEOFFREY GRAY                                                                                                                                                         ALTA ASKS
                                                                                                                                                                             Talking with Katie M.
    November 25, 2019                                                                                                                                                        Flynn
    UPDATE: According to reports, the Fenn treasure may have been found
                                                                  found..                                                                                                    ARCHITECTURE

    I land in Santa Fe at dusk. The sun is falling behind the Jemez Mountains, casting a glow of cotton candy pink and blood-red orange on                                   L.A. Unlikely to Score
    the scrubby hills with their adobe houses and cottonwood trees. The Navajo Nation and Jicarilla Apache land are to the northwest, and                                    Olympic Gold
    somewhere in that direction, past the Rio Grande and into the Rockies, lies the jackpot: Forrest Fenn’s treasure chest.

    It’s a small box. Less than a foot long and a foot wide. Cast in bronze in a Romanesque style, the hidden chest contains an estimated $2
    million in gold coins; placer nuggets; a pair of golden frogs; a dragon bracelet with ruby eyes and many diamonds; 254 rubies, six
    emeralds, two Ceylon sapphires, and more diamonds; numerous other artifacts; and, perhaps most curiously, a 28,000-word
    manuscript detailing the life and times of Fenn, a wealthy art and antiques dealer, typed by the man himself.

    Since he hid these valuables almost a decade ago and wrote a folksy and maddeningly vague poem holding clues about their location,
    Fenn has vaulted into the national spotlight. Though the true ﬁgure is impossible to track, newspapers and other outlets claim that
    350,000 Searchers have gone after the trove, trying to solve the puzzle by deciphering the poem as if it were a pirate’s treasure map or a
    Bible verse pointing to King Solomon’s mines. The diﬀerence is that Fenn’s treasure is real, and unlike Blackbeard and other ghosts who
    took the whereabouts of their fortunes with them, Fenn is now 89, and it’s quite possible that he wants to see his treasure found while
    he’s still alive.

    Fenn’s chest also has the aura of a curse around it. At least four Searchers have died while pursuing it, unfortunates who might have
    thought they’d cracked the poem, only to slip from a cliﬀ or succumb to the Rio Grande. Meanwhile, Fenn himself has been feted as a
    cult hero by those seeking his treasure. I plan to embed myself among the most devoted Searchers who have ﬂocked here for their sixth
    annual gathering—the Fennboree. (The website notes: “This is an opportunity for people actively seeking Mr. Fenn’s treasure to discuss
    their past hunts, oﬀer advice to new hunters…and boast about how much cleverer they are than everyone else there.”)

    But ﬁrst I have an appointment with Fenn, who’s notorious for tossing out decoys to confuse Searchers about the treasure’s location and
    keeping tight-lipped about its whereabouts. My ambition is to shake a new clue loose from him. It’s probably a foolish hope, but given
    his age and frailty, I’m hoping Fenn will slip up. Maybe he wants to, even.




                                                                                                                                                 ERIC SWANSON

    Geoffrey Gray interviewing Forrest Fenn in Fenn’s study, which is filled with his collection of Native American artifacts.

    …I HAVE GONE ALONE IN THERE

    The morning is hot and bone-dry. I follow the directions Fenn has given me to his home, driving past the town’s quaint Spanish plaza
    where shops hawk feathered headdresses, Indian blankets, and turquoise trinkets. Outside the main square, I turn left on Old Santa Fe
    Trail, passing the quirky art and antiques gallery that Fenn once owned and that he expanded over the years to generate his fortune. The
    large adobe was a compound of sorts, with three guesthouses he used to host clients like Jackie Onassis, Robert Redford, and Cher.

    In Santa Fe, Fenn has the reputation of a showman, an eccentric Barnum who migrated here with his family in the early 1970s to seek
    his own treasure. “Santa Fe was the only place I knew where I could wear Hush Puppies and blue jeans and make a living,” he told a
    reporter four years ago.

    Back then, he didn’t know anything about art. “I never studied art, didn’t own a painting and didn’t know anybody who did,” he
    explained in a 1986 People magazine article. He didn’t much like the paintings he sold. “I’m not particularly into art,” he admitted. “Art
    is a business, and what I love is the business.”

    Around town, other dealers sneered at his hucksterism, chiding him for openly selling fakes, namely the work of the master forger Elmyr
    de Hory. To Fenn, authenticity was subjective, and the secret to success in his world was perception. “It doesn’t matter who you are,” he
    liked to say. “It only matters who they think you are.”

    …WHERE WARM WATERS HALT

    I buzz the gate, and a pair of white doors swing open. I follow a pebble path toward the house—and a recent crime scene. The ongoing
    quest for the loot has turned Fenn, his family, and his home into targets. Several months before my visit, oﬃcers from the Santa Fe
    Police Department arrived here to arrest Robert Miller, a treasure hunter from Pennsylvania, for shattering a back gate with an ax and
    breaking in.

    “I thought the poem directed me into here,” Miller told the oﬃcers, who recorded the encounter.

    “Poem?” one cop asked. “You came onto the property because of a poem?”

    “I thought I had it ﬁgured out,” Miller said.

    “Are you serious,” the cop exclaimed, “that’s burglary, dude,” and whisked him away in a patrol car.

    On this day, Fenn’s outline ﬁlls the doorframe, and he beckons me inside. A large turquoise belt buckle holds up his dark-blue jeans, and
    wisps of feathery white hair fall from underneath a tall and ﬂoppy cowboy hat. Santa Fe’s John Wayne.

    Inside the house, his wife and high school sweetheart, Peggy, is in the kitchen, and his daughters are prepping lunch. I follow Fenn as he
    shuﬄes into his studio, a lair that could double as a wing of the Smithsonian. The ceilings are high, and dramatic light hits walls
    festooned with Indian hatchets and moccasins and dolls and cow skulls and books. In total, he has more than 2,000 artifacts. “I’m
    nostalgic,” he says. “I love history. I like the past. I like to relive some of the things that were…” He trails oﬀ and points toward the far
    bookshelf. “You see that football over there on the bottom shelf?”

    My eyes follow his ﬁnger.

    “With that very football, I made a wonderful dash for one yard across the scrimmage line and made a touchdown,” he says, lighting up at
    the memory and almost expecting applause. Considering all the priceless artifacts in the room—Sitting Bull’s peace pipe is around here
    somewhere—the old football is an unusual object for him to single out.

    Alone in his inner sanctum, Fenn becomes introspective and expansive. “I’ve always enjoyed feeling sorry for myself,” he says. “I try to
    avoid those who distract me from my self-esteem, and I try to remember in the many football ﬁelds of my life what I did in those things.”

    Fenn’s obsession with personal memory, to the point of almost living inside those mental postcards from his youth, strikes me as critical
    to my springing a clue from him. After all, Fenn never planned to create an international phenomenon by hiding the treasure and
    penning his poem. He was planning to commit suicide.

    THE END IS EVER DRAWING NIGH

    “I was going to die, and I started making plans,” Fenn tells me. He is referring to the discovery of cancer in his kidney in 1988, which led
    him to begin writing his poem. The illness was far enough along that a pair of doctors gave him a 20 percent survival rate.

    “Not that good,” Fenn states.

    Nor was the timing, he explains. Only two years before, William Marvin Fenn Sr., his father, had been diagnosed with pancreatic cancer.
    Talking about his dad triggers more memories for Fenn. “I remember we’d go to [West] Yellowstone every summer,” he says. “My father
    got three months oﬀ and had a cabin up there.” The Fenns lived in Temple, a Texas town between Austin and Dallas. Fenn’s father
    worked as the school principal, scraping together a living to support his family. “We weren’t poor; we just never had any money,” Fenn
    recalls.

    His father’s job was problematic for Fenn, who was a terrible and mischievous student. The spankings he received from his father were
    constant, and he must have felt embarrassed over his poor grades and bad behavior. The summers in West Yellowstone with his father,
    though, were diﬀerent—a relief from punishment and a chance for Fenn, then known in the family as Bubba, to earn his father’s
    aﬀection by sharing a pastime with him: ﬂy-ﬁshing.

    “I can’t tell you how many times I couldn’t wait to get out on the river,” he tells me. As a teen, he became so talented at tying ﬂies and
    locating ﬁsh in the streams of Yellowstone that he earned pocket money as a guide during the summers. In photos, he and his father
    proudly display the trout they’ve caught, which the family would later cook for dinner. Father and son shared this passion well into their
    later years.

    Then the elder Fenn killed himself. Instead of going to the hospital for treatment of his pancreatic cancer, he overdosed on sleeping pills
    and ended his life.

    Fenn admired his father for going out his own way. When he learned of his kidney cancer, Fenn planned the same path—sort of. He
    chose a ﬁnal resting place that was dear to him, and in a twist more ﬁt for an Egyptian pharaoh, he gathered some of his most beloved
    artifacts, typed out a manuscript recounting his life, then put it all in a bronze chest. The cache would be buried with his bones. He also
    wrote a poem with nine clues that would reveal his tomb’s location.

    Then something unexpected happened: He got better. He beat cancer. But he was so enamored with hiding the treasure and having
    people hunt for it that he decided to bury the booty anyway, in the location he’d chosen for his grave.

    “If you ﬁnd the treasure chest,” he says, “and you put it on your lap and raise that lid, one of two things is going to happen. You’re either
    going to start laughing or you’re just going to lean back and gulp. I mean, it’s very visual.”

    “There are 265 gold coins in there,” he goes on. “Mostly Eagles and Double Eagles, some Middle Eastern coins dated in 1500 that are
    gold or gold washed, two little ancient Chinese carved faces that are the most wonderful things in the world. I gave a bunch of money for
    those two little things. Not only is the jade wonderful, but the carvings, too.”




                                                                                                                                                 ERIC SWANSON

    jdiggins

    JDIGGINS

    • Estimated amount spent on the Chase: $50,000
    • Estimated hours: Thousands
    • Estimated years: 5.5

    A former sales and marketing representative for newspapers and radio, 50-year-old Jamie “jdiggins” Jourdan has 20 BOTGBs under her
    belt. She moved with her husband to Edgewood, New Mexico, after a wildﬁre consumed their home in Mendocino County, California.
    Fenn himself put up a prize, and with the help of the Chase community and others, jdiggins and her husband raised $59,000 as a
    recovery fund. Her search area is Colorado—“because that’s where the treasure is!” she says. She’s especially drawn to the clues hidden in
    Fenn’s verse. “[It’s] an innate pirate gene I must have,” she explains. “But seriously, it’s the poem. Gotta solve that poem!”

    …HEAVY LOADS AND WATER HIGH

    The root of obsession in this hunt—the beginning of the spiral that sends Searchers into the mountains of Montana, Wyoming,
    Colorado, and New Mexico—is the damn poem. The colloquial tone is somehow familiar and deceivingly simple. Surely, you think, after
    you read it for the dozenth time, I can ﬁgure this thing out. Then you realize that the words Fenn used are frustratingly vague: Tarry
    scant with marvel gaze?

    “All you need is a good map and the poem to ﬁnd the treasure,” Fenn has insisted.

    At some point, you need to assume a level of trust in Fenn to believe that the necessary clues are in his poem, and another, deeper level
    of faith to believe that a retired huckster of fake art has actually hidden a $2 million treasure.

    I ask him about the tragedies. Four deaths. Does he have any regrets?

    “We’ve had a couple of losses,” he says. But looking at the whole picture, he sees a balance. “I’ve had nine people tell me they were
    minutes away from suicide and they heard about my treasure. Now they’re out looking. They’ve got hope.”

    Not me. Not yet. Fenn agreed to speak with me for an hour, and we’ve gone well beyond that. I have to push him to reveal a clue. Fast,
    before our time runs out. Recently, Fenn gave an interview in which he claimed he was “umbilically” tied to the treasure’s location.
    Maybe hinting of a familial tie?

    “What do you mean,” I ask him, “by umbilically?”

    “It means so much to me,” he says. “Don’t you have a place that you really revere that you would like to go back to?”

    Hmm. I ask him about his favorite ﬁshing stream. If I were to ﬁsh in Yellowstone, I say, where would he guide me?

    “Don’t do it,” he cautions. “You can’t learn to ﬂy-ﬁsh out on the river. You’ll waste your time, and you’ll waste your money. But go out
    there anyway. Take a sandwich, a Coca-Cola, and a bag of Fritos and sit under the tree. I can tell you exactly where to go.”

    Oh?

    “I can show you. I’ve got a map. Would you like to look at that on a map?”

    Absolutely!

    “Let’s go in my kitchen,” he says. I follow him from the study to a wooden breakfast table. He unfurls the map. He spreads it out, licks his
    ﬁnger, and proceeds to slowly trace the route to a place dear to him—pinpointing its exact location. This is a path to hallowed grounds,
    and one he’s likely never shared before.




                                                                                                                                                 ERIC SWANSON

    Capt. Pappy

    CAPT. PAPPY

    • Estimated amount spent on the Chase: $20,000
    • Estimated hours: 87,600
    • Estimated years: 8 years

    “There’s not a day that goes by that I don’t think about it just a little bit,” says 70-year-old Peter “Capt. Pappy” Pappas, a trained social
    worker and former judo and wrestling coach from Caldwell, Idaho. Since he learned about the treasure in 2011, Pappas and his poodle,
    Billybobs, have made 58 BOTGB trips. Find him in West Yellowstone looking for Fenn’s secret ﬁshing holes. “It’s performance art at the
    highest level,” Capt. Pappy says. “I want to be part of the art.”

    …TAKE THE CHEST AND GO IN PEACE

    I walk out of the house. The Santa Fe sun is shimmering, and I can’t believe my luck. During our kitchen table session, Fenn oﬀered me
    coordinates, pointed out their location on his map, even told me where to park my car. I’m giddy and shaking. Well, that was easy, I
    think. Guess the old fellow wants his treasure found after all. But then doubt sets in. Maybe the clue Fenn gave me was a ruse? A decoy?
    Or nothing at all.

    I pull out of the driveway and head into the hills to Hyde Memorial State Park, the headquarters for this year’s Fennboree. I set up my
    tent and soon enough ﬁnd the cars and RVs and pickups parked near the campsite pavilion. Their license plates are from all over:
    Washington, Florida, Virginia. At the picnic tables, the crowd is a mix of cowboy hats and sequined hats, camouﬂage pants and dangling
    smokes, and everyone is dizzy with Fenn fever.

    “We don’t talk outside world; we talk Fenn,” says Jamie Jourdan, a.k.a. jdiggins. She helped resurrect the annual Golden Fenn shrine.
    (“Leave anything and everything that might please Golden Fenn, and perhaps induce Him to shower down upon you treasure-ﬁnding
    inspiration,” read the instructions.)

    Among the faithful, Fenn is not an old art salesman. He is a living messiah who has injected a sense of belief and wonder into what is for
    some an otherwise drab and unfair existence. His likeness is printed on T-shirts, and his favorite drink (Grapette soda) and food (fried
    pineapple pie) are well-known. Fenn has succeeded (inadvertently) where so many other cult leaders have failed: building a robust
    community and keeping it going strong, uniting family members, sparking love aﬀairs, and creating a meaningful and fun distraction
    from life’s humdrum.

    “I guess you could say we’re like a religious cult,” explains Amy Whitledge, a biology researcher from Denver. Even though her doctors
    recommended she skip the gathering, she wouldn’t miss it for the world. “We have people that build a shrine to Forrest and think he’s
    our symbol of the Master Planner.” She exclaims, “Look at all these wonderful people, in search of something!”

    Among the Searchers, there are codes and levels. There’s BOTGB, which means Boots on the Ground, Baby, a term for actual hunts.
    Whitledge is an Arm Chair, or a pondering Searcher who has yet to physically look for the treasure. I realize that I, too, am still only an
    Arm Chair. Compared with others who have spent tens of thousands of dollars and years out in the ﬁeld, I feel a touch inadequate. But
    many are supportive and helpful. I’m enjoying myself, and after the 14th conversation about what Fenn may have meant by umbilically,
    I’m starting to ﬁt right in.

    …WHY IS IT THAT I MUST GO

    It’s getting dark, and I need more allies, veterans of the Chase who can maybe support (or reject) the clue to the treasure’s location that
    Fenn may have given me back in his kitchen. But here’s the problem with the Fenn community: all are united in obsession with the
    Chase and divided in their personal quests to ﬁnd the treasure. The conversations and relationships only go so deep. Sooner or later, one
    wants to know where the other is looking. “Well, I can’t talk about it” is how the exchange normally ends.

    I ﬁnd myself spending the most time with Dal Neitzel, Capt. Pappy, and Iron Will. Neitzel, from Washington, was a treasure hunter who
    specialized in digging up old shipwrecks. He’s been BOTGB more than 70 times and is convinced that the treasure’s location is rooted in
    Fenn’s past. “It’s all about family and memories,” Neitzel says.

    “It’s performance art at the highest level,” says Capt. Pappy, who wears a blue sailor’s cap. A trained social worker and former judo coach,
    Capt. Pappy joined the Chase in the wake of a personal disaster. He sold his home after a messy divorce, rented an RV, and has racked up
    58 BOTGB expeditions. Like Neitzel’s, Capt. Pappy’s approach involves tracing the ﬁshing streams of Fenn’s youth.

    “Think about it,” Capt. Pappy says. “He was no good in school, probably had a learning disability before they called them those back
    then. His father was his principal. You know there’s friction there. The only way Fenn, as a kid, could get the love of his father was
    ﬁshing. He was a good ﬁsherman. Those must have been his best memories.”

    “I was there,” Iron Will tells me, claiming that his Solve led him to the one-bedroom house that Fenn’s father rented during those
    summers in West Yellowstone, the Montana town located opposite the west entrance of Yellowstone National Park. Iron Will believes
    that Fenn now owns the property. If true, it’s a legal technicality that would allow the ﬁnder to keep the treasure instead of surrendering
    it to the feds or a state agency.

    Neitzel, Capt. Pappy, and Iron Will have something else in common. All three are searching near West Yellowstone, an area that also
    happens to include the place that Fenn revealed to me on his map: his old swimming hole.

    THE ANSWERS I ALREADY KNOW

    Later that night, after the ﬁre at the pit has died down and the last margaritas are gone, I retire to my tent and go over the directions
    Fenn gave on his map. “You turn oﬀ on that road, but you don’t take the Baker’s Hole road,” he said, tracing the road on the map with his
    ﬁnger. “You keep going straight down, where we used to swim.”

    He was speciﬁc: “Go there, park your car there. Then walk through the willows around to the right. There’s a big bend that goes back to
    Baker’s Hole. It’s just about an eighth of a mile away, and there’s water there. You’ll probably see moose across the river there eating the
    willows.”

    I was listening carefully, scribbling in my notebook.

    “Sit under a tree and eat your sandwich,” he said. “Sit there for an hour and watch the eagles and the ospreys and the ﬁsh rising for
    mosquitoes or mayﬂies or caddis.”

    I don’t know why I asked Fenn if I should bring a swimming suit. But I did.

    “Everybody took a suit, and the girls were going to the willows and would change suits,” he said. “But the water is cold. It’s good for about
    10 minutes. Then you’re looking for a place in the sun.”




                                                                                                                                                 ERIC SWANSON

    Iron Will

    IRON WILL

    • Estimated amount spent on the Chase: $20,000
    • Estimated hours: 2,000
    • Estimated years
                years:: 5

    An operator and supervisor at an army ammunition plant, 50-year-old Will “Iron Will” Carter, of Radford, Virginia, is conﬁdent and
    resourceful. Currently he is plowing through property and company records to connect Fenn with land he might own in Montana. Iron
    Will’s mother created scavenger hunts around the house for him while he was growing up, and he always found the Solve. “I was born for
    this,” he says.

    …HEAR ME ALL AND LISTEN GOOD

    After the Fennboree, I return home to piece together my ﬁrst Solve. The route that Fenn gave me to his old swimming hole matches lines
    in the poem. Walking around those willows at Baker’s Hole could refer to “The end is ever drawing nigh”—“nigh” can mean to the left,
    where the Madison River would be. Even more interesting, the Madison is a river that ﬂows upstream from Madison Junction, an area
    of Yellowstone National Park where the warmer Gibbon and Firehole Rivers meet, which would satisfy the phrase “where warm waters
    halt.”

    Madison Junction would be—and has been for many—an ideal place to start a ﬁrst BOTGB. If I were to follow the river from the
    Wyoming border toward West Yellowstone, it would take me through a canyon, setting up the next clue in Fenn’s poem: “take it in the
    canyon down.” From there, Fenn writes, the treasure is “not far, but too far to walk.” I check the map, and Baker’s Hole is 17.4 miles down
    the river canyon. Too far to walk, but an easy, scenic drive from Madison Junction.

    I look at the map again. The Madison River runs along Route 191. Baker’s Hole is also oﬀ Route 191. Was it possible that when he hid the
    treasure, Fenn was literally driving down memory lane, following the road he and his father used to take from the national park back to
    their cabin in West Yellowstone? The same road that they would maybe veer oﬀ for a summer dip?

    What’s more, the water at Baker’s Hole, Fenn told me, was cold, just like in his poem: “Your eﬀort will be worth the cold.”

    But I still need a solution for the next clue in the poem: “Put in below the home of Brown.” Where was the home of Brown? I call the
    public library in West Yellowstone, hoping it might have a phone book from the 1940s or ’50s, when the Fenn family was summering
    there. Surely some Browns would be listed.

    “You looking for Fenn’s treasure?” the librarian asks.

    “How’d you know?”

    “You’re, like, the eighth person who’s called today,” she says.

    Forget Brown, I tell myself. Fenn has already told me where to go. I’m tempted to check the swimming hole theory with an experienced
    Searcher. Dal Neitzel lit out for West Yellowstone after the Fennboree, planning to search there for the rest of the summer. Iron Will, too,
    told me he would be returning to West Yellowstone in the coming days. I get in touch with Capt. Pappy.

    “You ever been Boots on the Ground yet?” he asks.

    “Not yet,” I say.

    “It changes everything,” he warns. “Once you get to Montana or wherever you go and start looking, you realize you’re in trouble. I mean,
    you’re out there in the woods with the grizzlies around, and it hits you: I have to cover all this ground looking for a 10-by-10 box!”

    I want to share my Baker’s Hole tip with Capt. Pappy, but he’s about to head to West Yellowstone too, and he tells me where he’s looking.
    I check it out on the map: it’s less than a mile from where young Fenn went to swim in Baker’s Hole! Like so many of the Fenn faithful,
    I’ve become caught in a bear trap of wonder and obsession. I wish Capt. Pappy luck and realize that it did not take long. I had become
    one of them, and only a streak of luck—or faith—would steer me straight.

    I GIVE YOU TITLE TO THE GOLD

    The path was clear. I’d have to work alone, and I knew what to do. I’d follow the roads to Baker’s Hole, just like the Golden Fenn God
    had told me, and I’d trace the footsteps of his past and enter those football ﬁelds of his youth. I’d bring a Coke and a bag of Fritos and a
    sandwich, sit under a tree, and watch the ospreys dive. The treasure would be just around the bend to the right and on through the
    willows.

    Boots on the Ground, Baby.

    A longtime investigative reporter, Geoﬀrey Gray is the author of Skyjack: The Hunt for D.B. Cooper, a New York Times bestseller, and
    the founder of True Mastery, the real-life adventure game.

    THE POEM

    In 2010, Forrest Fenn completed a 24-line poem that he says contains nine clues that point to the location of his treasure.

    As I have gone alone in there
    And with my treasures bold,
    I can keep my secret where,
    And hint of riches new and old.

    Begin it where warm waters halt
    And take it in the canyon down,
    Not far, but too far to walk.
    Put in below the home of Brown.

    From there it’s no place for the meek,
    The end is ever drawing nigh;
    There’ll be no paddle up your creek,
    Just heavy loads and water high.

    If you’ve been wise and found the blaze,
    Look quickly down, your quest to cease,
    But tarry scant with marvel gaze,
    Just take the chest and go in peace.

    So why is it that I must go
    And leave my trove for all to seek?
    The answers I already know,
    I’ve done it tired, and now I’m weak.

    So hear me all and listen good,
    Your eﬀort will be worth the cold.
    If you are brave and in the wood
    I give you title to the gold.




    THE CHEST

    • Size: 10 x 10 x 5 in.
    • Weight: 42 lb.
    • Material: Bronze
    • Crafted: 11th–12th century
    • Contents: Gold coins, gold nuggets, diamonds, rubies, emeralds, sapphires, carved jade, and a 28,000-word manuscript
    • Estimated value: $2 million

    FENNSPEAK

    Those seeking Fenn’s treasure have their own vocabulary. Some useful terms:

    • Searcher: A fellow treasure hunter.
    • The Chase: What Searchers call the hunt for Fenn’s treasure.
    • Arm Chair: A Searcher who has not yet gone BOTGB.
    • BOTGB: Boots on the Ground, Baby. Chase-talk for the physical act of looking for the treasure.
    • PP: Poetry Purist. A Searcher who believes that the poem contains all the clues needed to ﬁnd the treasure.
    • A Solve: A Searcher’s theory about the meaning of a clue.
    • WWWH: Acronym for the line in the poem “where warm waters halt.”




    HIDER’S REMORSE

    There’s an item Fenn regrets placing in the treasure chest: a silver bracelet made from 22 turquoise beads discovered in 1888 at the
    Colorado archaeological site Mesa Verde, and that Fenn claims to have won in a pool game. He has oﬀered to buy it back from its ﬁnder.

    GLASS JARS

    Fenn also hid a number of waterproof glass containers.

    • Each contains: Small brass bells, some of which are inscribed with the words “imagination is more important than knowlege [sic],”
    and a copy of Fenn’s autobiography.
    • Location: Buried in the mountains and the desert.
    • Purpose: “Some romantic historian will happen upon them in the year 12,016 and think Forrest Fenn was not just a passerby to life,”
    Fenn says.

    CURSED TREASURE

    At least four people have died while searching for Fenn’s treasure.

    • Jeff Murphy: Fell from a 500-foot cliﬀ in Yellowstone National Park, Montana, June 2017.
    • Eric Ashby: Drowned in Arkansas River, Colorado, June 2017.
    • Pastor Paris Wallace: Drowned in the Rio Grande, New Mexico, June 2017.
    • Randy Bilyeu: Died, likely from hypothermia or dehydration, near Bandelier National Monument, New Mexico. Reported missing
    January 2016; body recovered July 2016.

    ODDS

    • 42,000,000:1 of winning California SuperLotto Plus
    • 5,000:1 of the treasure ever being found, according to Michael “the Wizard” Kipness



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                 Dead snowmobile rider was
                 seeking treasure in Utah park
                                                                                   Published: March 24
                                        By The Associated Press                ·   Updated: March 26, 2020



11                                     Denver • Two snowmobile riders from Colorado were searching
                                       for an elusive treasure when they became stranded and one died
                                       in a Utah park.


                                       The pair set out from the Denver area March 17 to search for
                                       Forrest Fenn’s treasure, The Denver Post reported. The eccentric
                                       New Mexico antiquities dealer had said he hid the bounty
                                       rumored to be worth around $2 million somewhere in the Rocky
                                       Mountains.


                                       The 58-year-old snowmobiler died before the men were located
                                       Saturday near Dinosaur National Monument along the Utah-
                                       Colorado border. His 65-year-old companion was rescued.


                                       Thousands of people have searched for the treasure since 2010,
                                       when Fenn offered clues in a self-published memoir, "The Thrill
                                       of the Chase."


                                       Fenn, 89, said then that he hoped the hunt would push more
                                       people outside to enjoy the wilderness.


                                       "What happened was tragic," he said in an email Tuesday about
                                       the Colorado men.


                                       Authorities have not named the two snowmobilers from Deer
                                       Trail and Thornton, Colorado. They rented snowmobiles when
                                       they arrived at Dinosaur National Monument and proceeded into
                                       the wilderness Wednesday, authorities said.


                                       There was a copy of Fenn's book in their vehicle.


                                       They carried candy bars and a couple of bottles of water, but at
                                       some point there was not enough snow on the ground and they
                                       pressed forward on foot.


                                       "They were not dressed appropriately for the conditions, even for
                                       a day trip, and definitely not dressed for if something happened
                                       and they couldn't get out of there," said Lt. Chip McIntyre of the
                                       Moffat County Sheriff's Office.


                                       Searchers on foot spotted the older man Saturday. He was
                                       removed by helicopter and hospitalized, but his companion was
                                       dead when rescuers arrived.


                                       The men were found within five miles of a site where they were
                                       previously rescued by emergency crews Feb. 29, authorities said.




                                            Comments 11          »




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